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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                           v.                           ORDER

     JASON KESSLER, et al.,
                                                        JUDGE NORMAN K. MOON
                                      Defendants.



          This matter is set for trial beginning October 25, 2021. To ensure the safety and security

   of the jurors serving in this case, it is hereby ORDERED that the jurors be escorted each day to

   and from the U.S. Courthouse in Charlottesville, by a U.S. Marshal in a vehicle to be provided at

   Court expense.

          It is so ORDERED.

          The Clerk of Court is directed to send a certified copy of this Order to the U.S. Marshal’s

   Office, to the Financial Administrator, Jury Administrator, and all counsel of record.

          Entered this 27th     day of August, 2021.
